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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO
J. LEE,
Plaintiff,
v. No. CV l7- 01230-JB-LF
THE UNIVERSITY OF NEW MEXICO,
a public university, THE BOARD OF
REGENTS OF THE UNIVERSITY OF
NEW MEXICO, individually and in their
official capacities, ROBERT G. FRANK,
individually and in his official capacity,
LAURA VELE BUCHS, individually and in
her official capacity, HEATHER COWAN,
individually and in her official capacity,
FRANCIE CORDOVA, individually and in
her official capacity, MEGAN CHIBANGA,
individually and in her official capacity,
Defendants.
STIPULATED ORDER STAYING PROCEEDINGS

THIS MATTER having come before the Court on the Joz`nt Motz`on to Stay Proceedings,
and the Court having reviewed said Joint Motz'on to Stay Proceedings and being otherwise fully
advised in the premises, FINDS that the Motion is Well taken and Shall be GRANTED.

IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that the Joz'm‘ Motion to

Stay Proceea'z'ngs is hereby granted, and this matter is stayed through April 30, 2018.

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Approved:
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